      Case 1:14-cv-14176-ADB Document 571 Filed 10/01/18 Page 1 of 11



                  UNITED STATES DISTRICT COURT FOR
                   THE DISTRICT OF MASSACHUSETTS
                           BOSTON DIVISION


STUDENTS FOR FAIR ADMISSIONS, INC.,

                      Plaintiff,

     v.

PRESIDENT AND FELLOWS OF HARVARD             Civil Action No. 1:14-cv-14176-ADB
COLLEGE (HARVARD CORPORATION),

                      Defendant.



          HARVARD’S OPPOSITION TO SFFA’S MOTIONS IN LIMINE
        Case 1:14-cv-14176-ADB Document 571 Filed 10/01/18 Page 2 of 11



       The Court’s order denying summary judgment (Dkt. 566) reflects the need for numerous

factual disputes to be resolved at trial—including, as relevant here, the dispute between

Harvard’s and SFFA’s statistical experts and disputes concerning a set of documents prepared by

individuals within Harvard’s Office of Institutional Research (“OIR”). SFFA’s motions in

limine effectively seek to foreclose the Court’s full consideration of those disputes by keeping

important evidence out of the record. The Court should deny SFFA’s motions and permit the

full airing of evidence that will be necessary for the fair adjudication this case warrants.

I.     SFFA’S MOTION NO. 1 IS MOOT

       In light of the Court’s ruling on summary judgment (Dkt. 566), and SFFA’s

representation that its founder and President, Edward Blum, “has no relevant information to offer

at this trial” (Mot. 1), Harvard and SFFA have agreed to remove Mr. Blum from their respective

witness lists. SFFA’s first motion in limine, to preclude Harvard from calling Mr. Blum as a

witness, is therefore moot.

II.    SFFA’S MOTION NO. 2, TO PRECLUDE EVIDENCE OR ARGUMENT REGARDING
       APPLICATION FILES AND THE PERSONAL RATING, SHOULD BE DENIED

       One of the principal disagreements between the statistical experts in this case is whether

the personal rating assigned by admissions officers reflects bias against Asian-American

applicants. SFFA’s expert, Dr. Peter Arcidiacono, attempted to analyze three ratings that

applicants receive from admissions officers: the academic, extracurricular, and personal ratings.

His regression models found that Asian-American ethnicity was associated with stronger

academic and extracurricular ratings, but slightly weaker personal ratings, than the data in the

model would otherwise suggest. Dr. Arcidiacono then hypothesized—without any basis for the

obvious inconsistency—that factors outside the data explained the estimated positive effect of

Asian-American ethnicity on the academic and extracurricular ratings, but not the estimated



                                                  1
        Case 1:14-cv-14176-ADB Document 571 Filed 10/01/18 Page 3 of 11



negative effect on the personal rating. Dr. Card points out the inconsistency in Dr. Arcidiacono’s

interpretations of the three models and argues that, in fact, factors outside the data explain all

three effects. As the Court recognized in denying summary judgment, the resolution of that

dispute (and many others) between Dr. Card and Dr. Arcidiacono will be a key issue for trial.

       SFFA’s second motion in limine attempts to pretermit the Court’s consideration of both

experts’ views, by seeking to exclude Dr. Card’s opinion that factors outside the data—as

opposed to bias against Asian-American applicants—explain Dr. Arcidiacono’s regression

results for the personal rating. SFFA tries to justify that extraordinary request on the premise

that Dr. Card’s opinion relies on “portions of applications Harvard refused to produce,” such as

applicants’ essays and recommendation letters. That is incorrect. SFFA’s motion fails because

Dr. Card’s opinion relies not on information in undisclosed application files—which Dr. Card of

course never reviewed—but on documents, testimony, and data to which SFFA had equal access.

       1.      SFFA’s motion starts with an attempt to relitigate the Court’s discovery rulings.

During discovery, SFFA sought production of 1,600 application files for the classes of 2018 and

2019. Dkt. 284; Dkt. 285. 1 The Court concluded that “[r]equiring Harvard to redact and

produce 1600 files at [that] time [was] disproportionate to the demonstrated need.” Dkt. 326 at

2. The Court instead directed Harvard to produce 80 application files of its own choosing from

the class of 2018 cycle, another 80 from the class of 2019 cycle, and 160 files chosen by SFFA

from each cycle—a total of 480 files. Id. But although it denied SFFA’s request for additional

files, the Court invited SFFA to “renew [its] request once it … reviewed the application files”



1
       SFFA originally moved to compel production of 6,400 application files. Dkt. 64; Dkt.
65. The Court denied SFFA’s motion as moot with leave to renew on October 30, 2015 (Dkt.
113), and SFFA filed a renewed motion seeking production of 1,600 application files on April
10, 2017 (Dkt. 284; Dkt. 285).


                                                  2
        Case 1:14-cv-14176-ADB Document 571 Filed 10/01/18 Page 4 of 11



that Harvard produced. Id. SFFA never accepted that invitation. If SFFA thought it needed

additional files, it should have availed itself of the opportunity to request them, rather than using

its dissatisfaction with the Court’s discovery rulings as an excuse for an eleventh-hour attempt to

exclude expert testimony on a key issue in this case.

       2.      SFFA’s attempt to parlay its failure to request additional discovery into a basis for

excluding Dr. Card’s opinions fails because, despite SFFA’s accusations, neither Harvard nor Dr.

Card is relying on unproduced application files. Contrary to SFFA’s argument (Mot. 5), Dr.

Card is not relying on a “positive inference” from unproduced application files “to assume” that

information in those files explains applicants’ personal ratings. Rather, Dr. Card’s opinion on

this issue is that Dr. Arcidiacono’s model of the personal rating cannot support an inference that

the personal rating reflects bias against Asian-American applicants—in other words, that Dr.

Arcidiacono’s results are instead attributable to factors that cannot be included in a statistical

model. See Mot. Ex. 2 (Card Rebuttal) ¶ 7 (Dr. Arcidiacono’s model is “not capable of reliably

determining whether the personal rating is in fact ‘biased’”). That is, of course, the same

conclusion Dr. Arcidiacono reached with respect to his models of the academic and

extracurricular ratings. Dr. Card reached that conclusion for two main reasons, neither of which

had anything to do with information in unproduced application files.

       First, Dr. Card explained that the personal rating reflects a great deal of information that

cannot be quantified and thus cannot be included in a statistical model. See, e.g., Ex. 1 at

271:11-275:11 (Card Dep.). Dr. Arcidiacono himself agreed that “the personal rating … is

difficult to measure directly[.]” Ex. 2 at 37 (Arcidiacono Report). Dr. Card reached that

conclusion based not on information in undisclosed application files but on sources as available

to SFFA as they are to Harvard, including extensive deposition testimony that the personal rating




                                                  3
        Case 1:14-cv-14176-ADB Document 571 Filed 10/01/18 Page 5 of 11



relies on non-quantifiable information such as essays, the content of recommendation letters (not

just the numerical ratings assigned to some of those letters), and written comments from alumni

or staff interviews (not just the numerical ratings from those interviews). 2 See, e.g., Ex. 3 ¶ 147

& n.122 (Card Report); Card Rebuttal ¶ 40 & nn.30-31. 3

       Second, Dr. Card corroborated his interpretation of Dr. Arcidiacono’s results by

analyzing the same data to which SFFA had access. SFFA asserts (Mot. 3) that “there is no

evidence in the record that Asian-American applicants fare more poorly” on factors that inform

the personal rating. But Dr. Card found that, on average across the entire pool of applicants,

Asian-American applicants are less strong than White applicants across factors that are

quantified and that inform the personal rating—which suggests they are also less strong across

unquantifiable factors that inform the personal rating, and thus that the results of Dr.

Arcidiacono’s personal rating regression are likely due to those unquantifiable factors. See Card

Rebuttal ¶¶ 28-30, 46-50, 52-53. Dr. Card also observed that Dr. Arcidiacono’s own analysis

shows that “non-academic variables that are important to the personal rating (like the teacher,

guidance counselor, and alumni interview ratings) shift the unexplained gap towards zero.” Id.

¶ 51. He explained that, given the trend established by Dr. Arcidiacono’s analysis, “it is likely

that more non-academic variables would have the same effect” if it were possible to quantify

such variables and thus include them in the statistical model. Id.



2
        See, e.g., Ex. 4 at 164:11-165:2 (McGrath 2015 Dep.); Ex. 5 at 245:18-246:20, 248:6-24
(Fitzsimmons Dep.); Ex. 6 at 359:16-360:9 (McGrath 2017 Dep.); Ex. 7 at 80:3-18 (Banks
Dep.); Ex. 8 at 60:14-20 (Walsh Dep.); Ex. 9 at 121:2-6 (Bever Dep.).
3
        Dr. Card also noted that, according to Dr. Arcidiacono’s own model, factors in the data
explain almost twice as much about the academic rating as about the personal rating—making it
“indefensible” for Dr. Arcidiacono to attribute the positive effect of Asian-American ethnicity in
his academic rating model, but not the negative effect in his personal rating model, to factors
outside the data. Card Rebuttal ¶¶ 39, 42.


                                                  4
        Case 1:14-cv-14176-ADB Document 571 Filed 10/01/18 Page 6 of 11



       Ignoring all of this, SFFA offers a grossly misleading account of Dr. Card’s opinions.

For example, SFFA accuses Dr. Card (Mot. 5) of having “admitted he only believes race does

not influence the personal score because Harvard’s Dean of Admissions assured him it did not.”

In reality, Dr. Card’s extensive review of documents and testimony, as well as the applications

that were produced, supports his conclusion that the results of Dr. Arcidiacono’s personal rating

regression reflected not any actual effect of race but rather the effect of factors that cannot be

captured in a statistical model.

       3.      SFFA also attempts to argue (Mot. 3-4) that Dr. Card’s conclusion was legally

“impermissible.” As a threshold matter, SFFA’s arguments speak only to the weight that the

Court should afford Dr. Card’s analysis; they supply no basis to limit the scope of Dr. Card’s

testimony. In any event, SFFA misstates the law when it suggests that Dr. Card cannot criticize

Dr. Arcidiacono’s regression for its inability to account for the key, unquantifiable factors that

inform the personal rating. Far from suggesting that Dr. Card should be precluded from offering

his opinion, the Supreme Court’s decision in Bazemore v. Friday, 478 U.S. 385 (1986), on which

SFFA relies, recognized that where a regression does not control for critical factors—as is true of

Dr. Arcidiacono’s attempt to analyze the personal rating—it may be “so incomplete as to be

inadmissible as irrelevant.” Id. at 400 n.10; see also Palmer v. Shultz, 815 F.2d 84, 101 (D.C.

Cir. 1987) (“the relevance of a factor to the selection process” may be “so obvious that the

defendants, by merely pointing out its omission, can defeat the inference of discrimination

created by the plaintiffs’ statistics”). The First Circuit has likewise observed that, “[w]hile a

litigant need not include every conceivable independent variable in [a regression] analysis, the

major independent variables must be considered, … not only to render the statistical study




                                                  5
        Case 1:14-cv-14176-ADB Document 571 Filed 10/01/18 Page 7 of 11



probative, but also to save it from being dismissed as irrelevant.” Wessmann v. Gittens, 160 F.3d

790, 805 n.8 (1st Cir. 1998) (citations omitted). 4

       In short, Dr. Card is not relying on information in application files that the Court

determined Harvard was not required to produce, and his opinion appropriately points out crucial

defects in Dr. Arcidiacono’s analysis that make his conclusions unreliable—defects that are

central to the dispute between the experts. SFFA is of course free to cross-examine Dr. Card

regarding his opinions at trial, but it has shown no basis to exclude those opinions from the

courtroom. SFFA’s motion in limine is no more than a thinly veiled attempt to prevent the

fundamental weaknesses in its expert’s work from being exposed.

III.   SFFA’S MOTION NO. 3, TO PRECLUDE HARVARD’S FACT WITNESSES FROM
       TESTIFYING ABOUT THE OIR ANALYSES, SHOULD BE DENIED

       SFFA’s third motion in limine seeks to preclude Harvard from “elicit[ing] undisclosed

expert testimony” regarding documents created by employees in Harvard’s Office of Institutional

Research (“OIR”). Mot. 6. SFFA mischaracterizes both the record and the law and seeks one-

sided relief that would allow it to invoke the OIR documents while stifling Harvard’s response.

The motion should be denied.

       SFFA’s motion rests largely on the premise that, “[d]uring his deposition, Dean [Rakesh]

Khurana held himself out as having expertise in logit regressions by offering off-the-cuff


4
        See also Cooper v. Southern Co., 390 F.3d 695, 719 (11th Cir. 2004) (“Bazemore … did
not hold that any statistical report, no matter how many critical variables were missing, should
automatically present a jury question, indicating that there are ‘some regressions so incomplete
as to be inadmissible as irrelevant.’”); Koger v. Reno, 98 F.3d 631, 637 (D.C. Cir. 1996) (“Courts
have not … understood Bazemore to require acceptance of regressions from which clearly major
variables have been omitted[.]”); Daniel L. Rubinfeld, Reference Guide on Multiple Regression,
in Federal Judicial Center, Reference Manual on Scientific Evidence 303, 314 (3d ed. 2011)
(“Failure to include a major explanatory variable that is correlated with the variable of interest in
a regression model may cause an included variable to be credited with an effect that actually is
caused by the excluded variable.”).


                                                  6
        Case 1:14-cv-14176-ADB Document 571 Filed 10/01/18 Page 8 of 11



criticisms of OIR’s” supposed “conclusion.” 5 Mot. 8. But Dean Khurana was not presenting

himself as an expert witness; he was explaining his actions as a percipient witness. SFFA’s

counsel asked Dean Khurana a series of questions about whether and when he had seen the OIR

analyses, how he had reacted to them, and why—questions that he answered relying on his own

background and experiences. For example, when Dean Khurana testified that he recalled seeing

OIR tables like those shown to him at his deposition, which he described as “an examination of

… the admittance of students,” the following colloquy ensued:

       Q.      … And what do you remember about this examination?
       …
       A.      Just that I didn’t think that this was – analysis was done appropriately.
       Q.      And why didn’t you think that?
       A.      There’s limitations, a lot of limitations to doing what are called fitted models like
               this.

Ex. 10 (Khurana Dep.) at 253:13:20. A few minutes later, that discussion continued:

       Q.      When you say there are a lot of problems with a fit model such as these, what
               specific problems, if any, do you recall thinking about when you looked at tables
               like the ones in this report?
       A.      That models like this violate statistical and hypothesis testing.

Id. at 256:9-14. In other words, Dean Khurana commented on the OIR analyses in the context of

answering questions about how he had reacted to them and why. There is nothing impermissible

about this testimony.

       SFFA’s summary judgment briefs focused heavily on how Harvard officials,

including Dean Khurana and Dean Fitzsimmons, reacted to the OIR analyses—in Dean

Fitzsimmons’s case, in 2013; and in Dean Khurana’s case, when he was shown some of

the analyses in 2014 upon assuming the deanship. See Pltf.’s Mem. in Support of its Mot.


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       In actuality, OIR did not reach any “conclusion” that Harvard was discriminating against
Asian-American applicants; nor did OIR even seek to address that question. See SJ Mem. 38;
Def.’s Mem. in Opp. to Pltf.’s Mot. for S.J. (Dkt. 435) 19-23; SJ Reply 4-5.


                                                 7
        Case 1:14-cv-14176-ADB Document 571 Filed 10/01/18 Page 9 of 11



for S.J. (Dkt. 413) 15-18; Pltf.’s Mem. in Opp. to Harvard’s Mot. for S.J. (Dkt. 449) 10-

11; Pltf.’s Reply Mem. in Support of Mot. for S.J. (Dkt. 510) 11-12; SJ Reply 5. To the

extent SFFA presses a similar narrative at trial, arguing that the reactions somehow show

Harvard’s intent to discriminate against Asian-American applicants, Harvard’s witnesses

should be permitted to respond—in answering questions from either SFFA’s counsel or

Harvard’s—just as Dean Khurana did at his deposition: by discussing their personal

impressions of the OIR analyses’ limitations and how those impressions affected their

reactions.

       To the extent SFFA is arguing that Harvard’s fact witnesses cannot be permitted

to discuss scientific or technical concepts in conveying their reactions to the OIR

analyses, that is incorrect. As the First Circuit has explained, “Rule 26 uses the term

expert ‘to refer to those persons who will testify under Rule 702 of the Federal Rules of

Evidence with respect to scientific, technical, and other specialized matters.’” Gomez v.

Rivera Rodriguez, 344 F.3d 103, 113 (1st Cir. 2003). “That definition does not

encompass a percipient witness who happens to be an expert.” Id. Thus, “a party need

not identify a witness as an expert so long as the witness played a personal role in the

unfolding of the events at issue and the anticipated questioning seeks only to elicit the

witness’s knowledge of those events.” Id. at 113-114. That is the capacity in which

Dean Khurana and other fact witnesses would testify about their reactions to the OIR

analyses.

       SFFA’s authorities are not to the contrary. First, SFFA quotes Federal Rule of

Evidence 701 as prohibiting fact witnesses from testifying “based on scientific, technical,

or other specialized knowledge”—but the rule actually refers to “scientific, technical, or




                                                 8
       Case 1:14-cv-14176-ADB Document 571 Filed 10/01/18 Page 10 of 11



other specialized knowledge within the scope of Rule 702.” Fed. R. Evid. 701(c)

(emphasis added). SFFA omits the italicized phrase. As the First Circuit held in Gomez,

a fact witness’s testimony about events in which he participated is not testimony “within

the scope of Rule 702,” even if it reflects the witness’s expertise. Second, SFFA cites

Perez-Perez v. Popular Leasing Rental, Inc., 993 F.2d 281 (1st Cir. 1993), which stands

for the basic proposition that expert testimony must be disclosed. But the testimony at

issue in Perez-Perez was squarely within the scope of Rule 702; it was based on the

witness’s medical expertise and his “review of [defendant]’s medical records” after

litigation began. Id. at 286. That is not true here.

       If SFFA wishes to argue that Harvard officials’ reactions to the OIR analyses

somehow show Harvard’s intent to discriminate against Asian-American applicants, then

Harvard’s fact witnesses should be permitted to respond by answering questions—from

either SFFA’s counsel or Harvard’s—about their personal experiences with the OIR

analyses, including the bases for their reactions. Alternatively, if Harvard is precluded

from eliciting any fact witness testimony regarding the OIR analyses, then the Court

should preclude both parties from eliciting testimony regarding the OIR analyses. The

Court should reject SFFA’s request to present its side of the story without response.




                                                  9
       Case 1:14-cv-14176-ADB Document 571 Filed 10/01/18 Page 11 of 11



                                                               Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing.

                                                       /s/ Seth P. Waxman
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